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   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
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  11    ROBERT C. BUTLER,                      Case No. CV 20-11211 DMG (RAO)
  12                       Petitioner,
  13          v.                               JUDGMENT
  14    PATRICIA V. BRADLEY, et al.,
  15                       Respondents.
  16

  17         Pursuant to the Court’s Order Accepting Findings, Conclusions, and
  18   Recommendations of United States Magistrate Judge,
  19         IT IS ORDERED AND ADJUDGED that the Petition is denied, and this action
  20   is dismissed with prejudice.
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  22   DATED: November 30, 2021
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                                          DOLLY M. GEE
  24                                      UNITED STATES DISTRICT JUDGE
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